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 1 Matthew H. Poppe (SBN 177854)
   matthew.poppe@rimonlaw.com
 2 RIMON, P.C.

 3 800 Oak Grove Avenue, Suite 250
   Menlo Park, California 94025
 4 Telephone: 650.461.4433
   Facsimile: 650.461.4433
 5
   Attorneys for Plaintiff
 6 YUNTEK INTERNATIONAL, INC.

 7

 8                             UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                   OAKLAND DIVISION

11

12 YUNTEK INTERNATIONAL, INC.,                 Case No. 4:20-cv-07201-JSW

13               Plaintiff,                    PLAINTIFF YUNTEK INTERNATIONAL,
                                               INC.’S MOTION (1) TO DISMISS, OR TO
14       v.                                    PARTIALLY STRIKE, DEFENDANTS’
                                               AMENDED COUNTERCLAIM FOR
15 XIAMEN JXD ELECTRONIC                       DECLARATORY JUDGMENT OF
   COMMERCE CO., LTD. and XIAMEN               INVALIDITY, AND (2) TO STRIKE
16 SUNNYPET PRODUCTS CO., LTD.,                PRAYER FOR DECLARATION OF
                                               UNENFORCEABILITY; REQUEST FOR
17               Defendants.                   JUDICIAL NOTICE

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              PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1                               NOTICE OF MOTION AND MOTION

 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on July 9, 2021, at 9:00 a.m., or as soon thereafter as the

 4 matter be heard, in Courtroom 5 of the Oakland Courthouse, 2d Floor, 1301 Clay Street, Oakland,

 5 CA 94612, Plaintiff Yuntek International, Inc. (“Yuntek”), will and hereby does move for an

 6 order, regarding the Answer and Counterclaims to First Amended Complaint filed by Defendants

 7 Xiamen Jxd Electronic Commerce Co., Ltd. and Xiamen Sunnypet Products Co., Ltd. (together,

 8 “Sunnypet”), Dkt. No. 38, (1) dismissing Counterclaim Two for a declaratory judgment of

 9 invalidity or, alternatively, striking all grounds for that counterclaim except those based on alleged

10 prior art U.S. Patent No. 7,458,451 (the “ʼ451 Patent”), and (2) striking from the Prayer for Relief

11 paragraph (d) thereof, which requests a declaration that Yuntek’s asserted patent is unenforceable.

12          The motion to dismiss is made pursuant to Rule 12(b)(6) of the Federal Rules of Civil

13 Procedure on the grounds that Counterclaim Two fails to state a claim upon which relief can be

14 granted because the pleading alleges no relevant facts and states no specific basis for alleged

15 invalidity except with respect to the ʼ451 Patent, which cannot invalidate Yuntek’s asserted patent

16 as a matter of law because it is not prior art in relevant respects and does not disclose every

17 element of any claim in Yuntek’s patent. Furthermore, the invalidity counterclaim is based in part

18 on an alleged failure to satisfy the best mode requirement, which was eliminated as a basis to

19 invalidate a patent by the America Invents Act, 35 U.S.C. § 282(b)(3)(A).

20          The motion to strike is made pursuant to Rule 12(f) of the Federal Rules of Civil Procedure

21 on the grounds that (1) if the motion to dismiss is denied, all portions of Counterclaim Two other

22 than those relating to the ʼ451 Patent should be stricken as immaterial, impertinent, and/or

23 redundant because they relate to defenses that are not adequately pled and/or are contrary to law,

24 and (2) paragraph (d) of the Prayer for Relief should be stricken as immaterial, impertinent, and/or

25 redundant because Defendants have not pled an unenforceability counterclaim.

26          Yuntek further requests, pursuant to Rule 201 of the Federal Rules of Evidence, that the

27 Court take judicial notice of the ʼ451 Patent; two other patents in the same family (Nos. 6,550,592

28 and 7,048,102); Yuntek’s asserted patent and reexam certificate; and their respective filing dates.
                                                      1
                PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1          The motions and requests herein are based on this Notice of Motion, the Memorandum of

 2 Points and Authorities set forth below, all pleadings and documents in the Court’s file, all matters

 3 of which the Court may or must take judicial notice, and such other written or oral argument as

 4 may be presented at or before the time this motion is heard by the Court.

 5                                 STATEMENT OF RELIEF SOUGHT

 6          Yuntek seeks the following:

 7          (1)      An order dismissing, pursuant to Rule 12(b)(6), Sunnypet’s Second Counterclaim

 8 for a declaratory judgment of invalidity or, alternatively, striking, pursuant to Rule 12(f), all

 9 grounds for the invalidity counterclaim except those based on the alleged prior art ʼ451 Patent.

10          (2)      An order striking from the Prayer for Relief, pursuant to Rule 12(f), paragraph (d)

11 thereof, which requests a declaration that Yuntek’s asserted patent is unenforceable.

12          (3)      An order granting Yuntek’s request for judicial notice of the ʼ451 Patent; two other

13 patents in the same family (Nos. 6,550,592 and 7,048,102); Yuntek’s asserted patent, U.S. Patent

14 No. 6,715,446 (the “ʼ446 Patent”); the related reexamination certificate; and their filing dates.

15                            STATEMENT OF ISSUES TO BE DECIDED

16          (1)      Whether Sunnypet’s Counterclaim Two for Declaratory Judgment of Invalidity
17 should be dismissed pursuant to Rule 12(b)(6) for failure to state a claim upon which relief can be

18 granted because (a) no facts and no specific basis for alleged invalidity are stated in the pleading

19 other than with respect to the ʼ451 Patent, and (b) the ʼ451 Patent cannot render invalid Yuntek’s

20 asserted patent as a matter of law because the ʼ451 Patent is not prior art in relevant respects and it

21 does not disclose every element of any claim in Yuntek’s patent.

22          (2)      Whether, if the motion to dismiss is denied, all portions of Counterclaim Two other
23 than those relating to the ʼ451 Patent should be stricken pursuant to Rule 12(f) as immaterial,

24 impertinent, and/or redundant because they relate to defenses that are not adequately pled and/or

25 are contrary to law (including because a patent cannot be invalidated for allegedly failing the best

26 mode requirement).

27          (3)      Whether paragraph (d) of the Prayer for Relief, which requests a declaration that
28 the claims of Yuntek’s asserted patent are unenforceable, should be stricken pursuant to Rule 12(f)
                                                       2
                  PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1 as immaterial, impertinent, and/or redundant pursuant to Rule 12(f) because Defendants have not

 2 pled a counterclaim for a declaratory judgment of unenforceability.

 3          (4)      Whether the Court should take judicial notice, pursuant to Rule 201 of the Federal

 4 Rules of Evidence, of the ʼ451 Patent; two other patents in the same family (Nos. 6,550,592 and

 5 7,048,102); Yuntek’s asserted ʼ446 Patent; the related reexam certificate; and their filing dates.

 6                        MEMORANDUM OF POINTS AND AUTHORITIES

 7 I.        INTRODUCTION
 8          This is a patent infringement action in which Yuntek alleges that Sunnypet infringes U.S.

 9 Patent No. 6,715,446 B2 (the “ʼ446 Patent”). Sunnypet’s original responsive pleading asserted

10 three counterclaims, including for a declaratory judgment of invalidity and unenforceability of the

11 ʼ446 Patent. See Defendants’ Answer and Counterclaims, Dkt. No. 25, ¶¶ 14-21. Yuntek filed a

12 motion to dismiss those counterclaims on the basis that they contained boilerplate allegations with

13 no specific facts or grounds to support them. Dkt. No. 31. Sunnypet did not file a response, but

14 instead voluntarily amended its counterclaims. See Dkt. No. 38. However, Sunnypet’s amended

15 invalidity counterclaim is no better than the original. For the most part, it simply supplements the

16 bare statutory citations in the original counterclaim with a brief description of the corresponding

17 legal standards. That does not satisfy the Iqbal/Twombly standard.

18          The only exception is a cursory reference to an alleged prior art patent, U.S. Patent No.

19 7,458,451 (the “ʼ451 Patent”). See Dkt. No. 38, p. 7 (¶ 19). This is a rare instance in which a

20 prior art-based invalidity defense can be rejected at the pleading stage. First, the only potentially

21 relevant contents of the ʼ451 Patent were added by continuation-in-part applications that were

22 filed well after the priority date and application filing date of Yuntek’s asserted patent. The ʼ451

23 Patent thus is not prior art in relevant respects. Second, the disclosure of the ʼ451 Patent is so far

24 removed from the claimed invention of Yuntek’s asserted patent that it can be summarily rejected

25 as prior art. If the Court disagrees, it should at least strike the rest of the invalidity counterclaim as

26 to which no factual support is stated. Paragraph 23 of amended Counterclaim Two should also be

27 stricken on the grounds that it asserts a best mode defense that the America Invents Act of 2011

28 eliminated as a basis for invalidating a patent.
                                                        3
                  PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1          Yuntek also moves to strike a paragraph of Sunnypet’s Prayer for Relief that requests a

 2 declaration that the claims of Yuntek’s asserted patent are unenforceable. Unlike the original

 3 counterclaims, Sunnypet’s amended pleading states no counterclaim for a declaratory judgment of

 4 unenforceability. There is therefore no support for the prayer for a declaration of unenforceability,

 5 which presumably was included in error and should be stricken.1

 6 II.      FACTUAL AND PROCEDURAL BACKGROUND
 7          This is a patent infringement action brought by Yuntek against Sunnypet. Yuntek owns

 8 the ʼ446 Patent, entitled “Pet Tent,” which was validly issued by the United States Patent and

 9 Trademark Office on April 6, 2004. First Amended Complaint (“FAC”), Dkt. No. 37, p. 1, ¶ 2;
                             2
10 id., p. 3, ¶ 8; Exhibit A. The patent covers a collapsible pet carrier such as the one shown in the

11 following image from the patent’s cover page:

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18 Sunnypet has sold and is selling one or more products that infringe the ʼ446 Patent, including on

19 www.amazon.com. Id., pp. 3-4, ¶¶ 11-13. Following is an image of one of the Accused Products:

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     Yuntek notified Sunnypet about this issue, as well as the other grounds for this motion, more
   than a week before filing this motion, but Sunnypet took no corrective action.
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   2
     The exhibit references in this brief refer to the exhibits attached to this motion, which are the
28 subject of Yuntek’s request for judicial notice stated infra at 11.
                                                       4
                PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1 See id., ¶ 11. Yuntek notified Sunnypet in writing of the ʼ446 Patent and Sunnypet’s infringement

 2 thereof on multiple occasions starting in June 2018, but Sunnypet has nonetheless continued to sell

 3 the infringing products. Id., ¶ 14.

 4          Yuntek filed the Complaint in this action on October 15, 2020, alleging direct, indirect,

 5 and willful infringement by Sunnypet. See Complaint, Dkt. No. 1, ¶¶ 17-23. Sunnypet filed an

 6 Answer and Counterclaims in which it denied infringement and asserted three counterclaims for a

 7 declaratory judgment of, respectively, non-infringement, invalidity, and unenforceability. Dkt.

 8 No. 25. Yuntek moved to dismiss the invalidity and unenforceability counterclaims on the basis

 9 that no supporting facts were pled and several of the asserted theories were unsupported by law or

10 had to be pled with particularity. See Motion to Dismiss, Dkt. No. 31. Sunnypet did not respond;

11 rather, after Yuntek filed an amended complaint pursuant to a stipulated order, Sunnypet filed a

12 new Answer and Counterclaims. See Dkt. Nos. 35-38. Sunnypet’s amended pleading asserts only

13 two counterclaims, for non-infringement and invalidity, the unenforceability counterclaim having

14 been dropped. See Dkt. No. 38, pp. 6-7. The amendments to the invalidity counterclaim do not

15 save it from dismissal for the reasons discussed below.

16 III.     LEGAL STANDARD
17          Under Rule 12(b)(6), a complaint should be dismissed if it fails to state a claim upon which

18 relief can be granted. A motion to dismiss a counterclaim brought pursuant to Rule 12(b)(6) is

19 evaluated under the same standard. PageMelding, Inc. v. ESPN, Inc., No. C 11-06263 WHA,

20 2012 WL 3877686, *1 (N.D. Cal. Sept. 6, 2012). To survive a motion to dismiss, a complaint

21 must contain sufficient factual matter, accepted as true, to “state a claim for relief that is plausible

22 on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929

23 (2007). This requires that the plaintiff allege facts that add up to “more than a sheer possibility

24 that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 173

25 L. Ed. 2d 868 (2009). When assessing whether the plaintiff has stated facts sufficient to “raise a

26 right to relief above the speculative level,” Twombly, 550 U.S. at 570, the court must assume that

27 the plaintiff's allegations are true and must draw all reasonable inferences in the plaintiff's

28 favor. Usher v. City of Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). “However, the court is
                                                       5
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 1 not required to accept as true allegations that are merely conclusory, unwarranted deductions of

 2 fact, or unreasonable inferences.” Xilinx, Inc. v. Invention Inv. Fund I LP, No. C 11-0671 SI, 2011

 3 WL 3206686, *5 (N.D. Cal. July 27, 2011) (internal quotations omitted).

 4          Rule 12(f) authorizes a court to “strike from a pleading … any redundant, immaterial,

 5 impertinent, or scandalous matter.” “A matter is immaterial if it ‘has no essential or important

 6 relationship to the claim for relief or the defenses being pleaded.’” Rees v. PNC Bank, N.A., 308

 7 F.R.D. 266 (N.D. Cal. 2015) (quoting Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir.

 8 1993), rev'd on other grounds, 510 U.S. 517, 114 S. Ct. 1023, 127 L. Ed. 2d 455 (1994)). “A

 9 matter is impertinent if it consists of statements that do not pertain to and are not necessary to the

10 issues in question.” Id. “Redundant allegations are those that are wholly foreign to the issues

11 involved or the needless repetition of allegations.” Id. (citing Sliger v. Prospect Mortg., LLC, 789

12 F. Supp. 2d 1212, 1216 (E.D. Cal. 2011); Nguyen v. CTS Elecs. Mfg. Solutions Inc., 301 F.R.D.

13 337, 342 (N.D. Cal. 2014)). The function of a motion to strike is “‘to avoid the expenditure of

14 time and money that must arise from litigating spurious issues by dispensing with those issues

15 prior to trial.’” Id. (quoting Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir.

16 1983)). “Granting a motion to strike may be proper if it will eliminate serious risks of prejudice to

17 the moving party, delay, or confusion of the issues.” Id. (citing Fantasy, 984 F.2d at 1527-28).

18 “‘With a motion to strike, just as with a motion to dismiss, the court should view the pleading in

19 the light most favorable to the nonmoving party.’” Id. (quoting Platte Anchor Bolt, Inc. v. IHI,

20 Inc., 352 F. Supp. 2d 1048, 1057 (N.D. Cal. 2004) (cit. om.)). “Ultimately, whether to grant a

21 motion to strike lies within the sound discretion of the district court.” Id. (citing Whittlestone, Inc.

22 v. Handi-Craft Co., 618 F.3d 970, 973 (9th Cir. 2010); Nguyen, 301 F.R.D. at 342)).

23 IV.      ARGUMENT
24          A.      The Court Should Dismiss Sunnypet’s Amended Invalidity Counterclaim
            The Court should dismiss Sunnypet’s counterclaim for a declaratory judgment of invalidity
25
     for failure to state a claim upon which relief can be granted pursuant to Rule 12(b)(6). The
26
     Iqbal/Twombly plausibility standard discussed above applies to an invalidity counterclaim. See,
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     e.g., Ely Holdings Ltd. v. O'Keeffe's, Inc., 18-CV-06721-JCS, 2019 WL 4071028, *1 (N.D. Cal.
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                                                       6
                 PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1 Mar. 5, 2019); PageMelding, 2012 WL 3877686, at *3; Qarbon.com Inc. v. eHelp Corp., 315 F.

 2 Supp. 2d 1046 (N.D. Cal. 2004); Advanced Cardivascular Sys., Inc. v. Medtronic, Inc., No. C-95-

 3 3577 DLJ, 1996 WL 467293, *13 (N.D. Cal. July 24, 1996); Grid Sys. Corp. v. Texas Instruments

 4 Inc., 771 F. Supp. 1033 (N.D. Cal. 1991).

 5                  1.      Sunnypet Mostly States Generic Allegations With No Factual Support

 6          Sunnypet’s invalidity counterclaim states several theories of invalidity, but mostly without

 7 any supporting factual allegations. See Dkt. No. 38, ¶¶ 17-24. Paragraph 17 of the counterclaim

 8 merely cites several statutory provisions by number, along with unspecified regulatory provisions.

 9 See id., ¶ 17 (citing 35 U.S.C. §§ 101, 102, 103, 112, 116, 119, 120, and “one or more sections of

10 Title 37, Code of Federal Regulations”). It is insufficient for an invalidity counterclaim to “simply

11 plead[] the citation.” Qarbon.com, 315 F. Supp. 2d at 1050; see also Xilinx, 2011 WL 3206686, at

12 *6 (“bare-bones recitation of statutes does not meet the requirements of Twombly and Iqbal and

13 does not put [opposing party] on notice of the basis of … claims of invalidity.”).

14          The subsequent paragraphs of Sunnypet’s counterclaim, with one exception, merely state

15 statutory language. Compare Dkt. No. 38, ¶ 18, with 35 U.S.C. § 101; compare Dkt. No. 38, ¶ 21,

16 with 35 U.S.C. § 103; compare Dkt. No. 38, ¶¶ 22-24, with 35 U.S.C. § 112(a), (b). This again is

17 insufficient. Even before Iqbal and Twombly were decided, this Court held that “conclusory

18 pleading of the statutory language is insufficient to meet the fair notice requirement of Rule 8….”

19 Grid Sys., 771 F. Supp. at 1042. Rather, an invalidity counterclaim “must link each challenged

20 patent with particular defects, and allege some factual basis for each alleged defect.” Id.; see also

21 Qarbon.com, 315 F. Supp. 2d at 1050-51 (granting motion to dismiss invalidity counterclaim that

22 “does not provide a more specific statement of the basis of the counterclaim”); PageMelding, 2012

23 WL 3877686, at *3 (“Defendant’s conclusory pleading of the statutes results in a general

24 allegation that the ... patent is defective, nothing more. This counterclaim falls short of the “fair

25 notice” requirement of FRCP 8 as interpreted by Iqbal and Twombly.”). Generic allegations such

26 as Sunnypet’s are “radically insufficient” because they do not give the plaintiff a basis to evaluate

27 them, preserve relevant evidence, or prepare a defense. Grid Sys., 771 F. Supp. at 1037, 1042; see

28 also Wordtech Sys., Inc. v. Integrated Networks Solutions Inc., 609 F.3d 1308, 1322 (Fed. Cir.
                                                       7
                PLAINTIFF YUNTEK INTERNATIONAL, INC.’S MOTION TO DISMISS AND STRIKE
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 1 2010) (noting that an allegation that “claims of the Patents are invalid for failure to comply with”

 2 statutory requirements provides “little notice”).

 3                  2.      Sunnypet’s Sole Alleged Prior Art Patent Does Not Support Invalidity

 4          The only factual assertion in Sunnypet’s amended invalidity counterclaim is that Yuntek’s

 5 asserted patent is anticipated by U.S. Patent No. 7,458,451 (the “ʼ451 Patent”). The ʼ451 Patent

 6 cannot invalidate Yuntek’s patent because (1) it is not actually prior art and (2) it does not disclose

 7 all elements of any claim of Yuntek’s patent. The simple, easily-understood structural elements of

 8 Yuntek’s pet carrier patent claims make this argument suitable for a motion to dismiss.

 9                          a.      Sunnypet’s Cited Patent Is Not Prior Art
            Yuntek’s patent is entitled to a November 9, 2001 priority date based on a corresponding
10
     Chinese patent application filed on that date. See Exhibit A, cover page; 35 U.S.C. § 119(a). The
11
     U.S. application from which Yuntek’s patent issued was filed on November 8, 2002. See Exhibit
12
     A, cover page. The ʼ451 Patent cited by Sunnypet issued from an application filed on January 26,
13
     2006, long after the relevant dates for Yuntek’s patent. See Exhibit B, cover page. Therefore, the
14
     ʼ451 Patent is not prior art to Yuntek’s patent.
15
            The ʼ451 Patent is fourth in a line of related patents, one of which has an application filing
16
     date slightly before the priority date of Yuntek’s patent. See Exhibit A, cover page, “Related U.S.
17
     Application Data” section (citing U.S. Patent No. 6,550,592 with an application filing date of Oct.
18
     1, 2001). However, the ʼ451 Patent is a continuation-in-part patent, see id., and the parts of the
19
     ʼ451 Patent that relate to pet carriers (the subject of Yuntek’s patent) were not in the first patent.
20
     This can be seen by comparing the first two patents in the patent family. Compare Exhibit C at
21
     2:2-3, 2:13, 3:5-27, 7:11-8:21 & Figs. 17-23 (references to pet carriers in the second patent in the
22
     patent family, U.S. Patent No. 7,048,102), with Exhibit D (U.S. Patent No. 6,550,592, which has
23
     none of those references). The parts of the ʼ451 Patent that relate to a foldable/collapsible pet
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     carrier, which are the portions on which Sunnypet presumably intends to rely, were added even
25
     later. Compare Exhibit B at 8:59-10:3 & Figs. 24-28 (relevant portions of ʼ451 Patent, with an
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     application filing date of January 26, 2006), with Exhibit C (lacking those portions). This further
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 1 confirms that neither the ʼ451 Patent nor any of the other patents in the same family is prior art to

 2 Yuntek’s pet carrier patent.

 3                          b.      Sunnypet’s Cited Patent Lacks an Invalidating Disclosure

 4           Even if the ʼ451 Patent were prior art, it does not have an invalidating disclosure because it

 5 is missing many claim elements present in Yuntek’s patent. Indeed, the two patented designs are

 6 fundamentally different.

 7           Yuntek’s patented invention is a collapsible pet carrier with a continuous main body and

 8 panels at each end that are engageable with the main body, such as by zippers. The end panels

 9 provide structural support when they are engaged, and allow the carrier to be collapsed and folded

10 when they are disengaged. The front panel has an opening that allows a pet to enter and exit the

11 carrier after it has been set up. These elements can be seen, for example, in Figure 3:

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18 See Exhibit A, Fig. 3. All claims of the ʼ451 Patent require, among other things, a continuous

19 main body; front and back panels that provide structural support when engaged or allow the carrier

20 to be collapsed and folded when disengaged; and a front opening in the front panel for pet
                                                                                   3
21 ingress/egress. See Exhibit E at 1:32-52, 1:64-2:21, 2:39-60, 3:40-4:3, 4:45-67.

22           The design of the ʼ451 Patent cited by Sunnypet is fundamentally different, as shown in

23 the following figure from that patent:

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     3
    Yuntek’s original patent, Exhibit A, underwent (and survived) multiple reexaminations. Exhibit
28 E is the most recent reexamination certificate that states the patent claims in their current form.
                                                       9
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13 Exhibit B, Fig. 28. Here, the main body is not continuous but rather unzips along edge 464 such

14 that panels 434, 432, and 412 lie flat. In addition, there is no opening in a front panel to allow a

15 pet to enter or exit the carrier when it is fully assembled. Further, the design relies on separate,

16 external elements to provide structure. See id. at 9:30-37, 9:45-48, 9:64-10:3. Thus, even if these

17 disclosures were not four years too late to be prior art, they would not be invalidating.

18          B.      In the Alternative, the Court Should Strike All Parts of Sunnypet’s Invalidity
                    Counterclaim That Are Not Based on the Cited ʼ451 Patent
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            Should the Court find that Sunnypet’s invalidity claim based on the ʼ451 Patent cannot be
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     resolved at the pleading stage, despite that patent not being prior art and lacking an invalidating
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     disclosure, then the Court should at least strike all other portions of the invalidity counterclaim as
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     to which Sunnypet has stated no factual support―i.e., paragraphs 17-18 and 20-24. Not only do
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     they lack factual support, but paragraph 23 states a best mode theory that the America Invents Act
24
     of 2011 eliminated as a basis to invalidate a patent. See 35 U.S.C. § 282(b)(3)(A) (“the failure to
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                                                       10
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 1 disclose the best mode shall not be a basis on which any claim of a patent may be canceled or held

 2 invalid or otherwise unenforceable”).4

 3           C.      The Court Should Strike Sunnypet’s Prayer for a Declaration That Yuntek’s
                     Patent Is Unenforceable
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             Sunnypet’s original pleading included Counterclaim Three for a Declaratory Judgment of
 5
     Unenforceability, but Sunnypet dropped that counterclaim from its amended pleading. Compare
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     Dkt. No. 25, p. 7, with Dkt. No. 38, pp. 6-7. Yet Sunnypet’s amended pleading still contains a
 7
     prayer for a “declaration that the claims of the ʼ446 Patent are unenforceable.” Dkt. No. 38, p. 8,
 8
     ¶ d. This presumably was an oversight, but Sunnypet has not offered to correct it even though
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     Yuntek raised the issue more than a week ago. Regardless of Sunnypet’s intent, the prayer is not
10
     supported by Sunnypet’s remaining counterclaims and therefore should be stricken.
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             D.      The Court Should Grant Judicial Notice of the Patents Cited Herein
12           Pursuant to Rule 201 of the Federal Rules of Evidence, Yuntek requests that the Court take
13 judicial notice of the asserted ʼ446 Patent, the related reexamination certificate, Sunnypet’s cited

14 ʼ451 Patent, two other patents in the same family as the ʼ451 Patent that are cited on the face of

15 the ʼ451 Patent, and the related filing dates. The patents and reexamination certificate are attached

16 hereto as Exhibits A-E. As public records, they are judicially noticeable and may be considered in

17 connection with a motion to dismiss. See, e.g., GeoVector Corp. v. Samsung Elecs. Co., 234 F.

18 Supp. 3d 1009, 1016 n.2 (N.D. Cal. 2017); X One, Inc. v. Uber Technologies, Inc., 239 F. Supp.

19 3d 1174, 1182 n.1 (N.D. Cal. 2017). In addition, “[c]ourts routinely take judicial notice of patent

20 filing dates.” Foster Poultry Farms v. Alkar-Rapidpak-MP Equipment, Inc., 868 F. Supp. 2d 983,

21 990 (E.D. Cal. 2012) (citing cases).

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25   This is not the first time Sunnypet has asserted a legal theory that contravenes definitive statutory
   or case law. Sunnypet’s original pleading included theories of laches and patent misuse that have
26 been abolished or severely limited and that Sunnypet abandoned after Yuntek raised this argument
   in its prior motion to dismiss. See Dkt. No. 25, p. 4, ¶¶ 5, 12; id., p. 7, ¶ 21; Dkt. No. 31 at 5; SCA
27 Hygiene Prods. Aktiebolag v. First Quality Baby Prods., -- U.S. --, 137 S. Ct. 954, 197 L. Ed. 2d
   292 (2017) (laches does not apply to patent claims); Princo Corp. v. Int’l Trade Comm’n, 616
28 F.3d 1318, 1329 (Fed. Cir. 2010) (patent misuse doctrine has a “narrow scope”).
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 1 V.       CONCLUSION
 2          For the foregoing reasons, Yuntek respectfully requests that this Court grant its motion to

 3 dismiss Sunnypet’s second counterclaim for invalidity pursuant to Rule 12(b)(6) or, alternatively,

 4 strike the portions of that counterclaim described above pursuant to Rule 12(f). Yuntek further

 5 requests, pursuant to Rule 12(f), that the Court strike paragraph (d) of the Prayer for Relief in

 6 Sunnypet’s Answer and Counterclaims. Finally, Yuntek requests that the Court take judicial

 7 notice of the patents and reexamination certificate attached hereto as Exhibits A-E, along with

 8 their respective filing dates.

 9

10 Dated: June 3, 2021                               RIMON, P.C.

11

12                                              By: /s/ Matthew H. Poppe
13                                                  Matthew H. Poppe

14                                                   Attorneys for Plaintiff YUNTEK
                                                     INTERNATIONAL, INC.
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on June 3, 2021 the within document was filed with the Clerk of the

 3 Court using CM/ECF, which will send notification of the filing to all attorneys of record in this

 4 case.

 5                                                        /s/ Matthew H. Poppe
                                                                    Matthew H. Poppe
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